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CURRICULUM VITAE
Name: Stanley Barone Jr. MS, PhD
Title: Senior Science Policy advisor for immediate office
Office of Chemical Safety and Pollution Prevention
PROFILE
An executive public service leader, and senior scientist policy manger with a track record of
coaching and leading organizations to successful achievement of mission and goals.
   • Passion for planning and achieving practical, measurable results
   • Focus on mission & goals of protecting human health and the environment
   • Commitment to public service & public servants
   • Core value driven interest in environmental & human health protection
   • Extensive knowledge & experience in public sector management and transparency


EDUCATION:
Institution and Location                    Degree     Year            Field
East Carolina University,                    Ph.D.     1990 Anatomy & Cell Biology
         School of Medicine, Greenville, NC                 (neurobiology- developmental
                                                                   neurotoxicology)
East Carolina University (ECU),           M.S.         1985 Biology (endocrinology)
       Biology Department, Greenville, NC
Belmont Abbey College, Belmont, NC        B.S.         1982    Biology
                           INTERESTS and MAJOR ACTIVITIES:
Currently, Dr. Barone serves as a senior science policy advisor in the immediate office of
OCSPP. Dr. Barone’s experience leading major programs and projects demonstrates his program
mangment skills. His scientific background has been applied to policy development in the form
of guidance and risk evaluations to support rulemaking and regulatory development in multiple
programs including OAR methanol delisting petition and mercury rule, Childrens Risk
Assessment Framework, EJ guidance, systematic review guidance, AEGL assessments and
TSCA risk evaluations. His technical background has provided him the foundational edge in
policy development of strategy for nonanimal test method approaches including leading the
endocrine disruption testing program and representing the agency at the OECD and UNEP
chemical programs. His key responsibilities included overseeing risk assessment activities
related to both new chemicals and existing chemicals programs, administrative, and resource
functions for the entire division. He has also served as the OPPT’s peer review coordinator. Dr.
Barone’s health and ecological assessment activities include involvement in IRIS assessments of
tetrachloroethylene, trichloroethylene (TCE) and methanol, and leadership of OPPT TSCA risk
assessments including TCE, antimony trioxide, methylene chloride, n-methylpyrolidone, and
several flame-retardant assessments. His key responsibilities included overseeing risk assessment
activities related to both new chemicals and existing chemicals programs. He has been
instrumental in developing streamlined prioritization and scoping processes for existing chemical
assessment. These efforts included evaluation of ecological and health endpoints. In addition,
this position included oversight of design and development of new methods and models for
pollution prediction and prevention of chemical exposures.
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                EMPLOYMENT: Leadership and Professional Experience:

March 2022- present, SL position - Senior Science Policy advisor for immediate office of
     OCSPP. As senior advisor I provides expert technical advice and guidance to senior
     management concerning scientific integrity, science policy development, and science
     coordination. This includes, but is not limited to, an understanding of the agency’s
     scientific integrity policy and risk evaluation procedures under the Toxic Substances
     Control Act (TSCA), the Federal Insecticide, Fungicide, and Rodenticide Act (FIRA),
     and the Federal Food, Drug, and Cosmetic Act (FFDCA).

October 2020 to February 2022 GS15 Branch Chief Prioritization and Informatics Branch (GS-
      401-15) Data Gathering and Analysis Division, Office of Pollution Prevention and
      Toxics, U.S. Environmental Protection Agency,
      The key challenge is developing data science group post OCSPP reorganization and
             leading cross office team overseeing systematic review and enterprise-wide data
             prioritization activities for existing chemical risk assessment. I provided
             leadership for data gathering efforts for TSCA by leading multi-disciplinary teams
             team to complete 10 highly complex priority chemical risk evaluations, to meet
             statutory deadlines, delivering finished analytical products to meet tight statutory
             deadlines; leading multi-disciplinary scientific team to establish high-profile
             documentation (protocol) of scientific approach to systematic review of studies
             that underlie key regulatory program; leading SR team, leading data science team,
             leading team providing key contributions to PFAS national testing program;
             coordinating cross-organization team collaborations within EPA’s OPPT and
             across organizational boundaries with ORD; briefing senior Agency leadership on
             scientific, policy, and regulatory strategies; mentoring staff in leadership positions
             as well as new staff; formulated budget projection and reported on budget
             utilization; successfully led recruiting efforts for scientific positions. Key results
             include developing prioritized list of PFAS chemicals for test orders and national
             testing strategy and draft systematic review protocol.

February 2019- October 2020 GS15 Deputy Director of Risk Assessment Division of Office of
      Pollution Prevention & Toxics (OPPT) USEPA. Washington, DC, oversees new and
      existing chemical risk assessment activities and peer review coordinator OPPT risk
      evaluations, staff development and training, budget and all administrative and human
      resource functions of division.
           Results Oriented:-
                 • Developed peer review drafts of risk evaluations for 10 chemicals in
                         response to Lautenberg amendments to TSCA 2016.
                 • Prioritized TSCA chemicals and developed high priority designations for
                         next 20 chemicals to undergo TSCA risk evaluation process.
                 • Developed 20 scopes for next 20 risk evaluations.
                 • Finalized 10 risk evaluations for first set of chemicals


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April 2016 to February 2019 (SES level position): Acting Office Director, Office of Science
       Coordination Policy (OSCP), (GS-401-15) Supervisor Biologist, Office of Chemical
       Safety and Pollution Prevention (OCSPP), USEPA, Washington, DC.
       This leadership opportunity presented a myriad of organizational challenges with
               multiple LER, EEO, MD715 and IG complaints in this Office. This was an
               opportunity to build trust in leadership and develop my coaching skills to the next
               level with an interdisciplinary staff of 20. I engaged unions NTEU and AFGE in
               collaboration with LER to build trust and improve communication. I provided
               advice and leadership on cross-cutting science policy issues such as the endocrine
               disruption screening program (EDSP), alternative testing approaches through
               coordination with ORD, OPP, OPPT and OW. This effort included establishing
               contractual efforts through ORD to amplify EDSP high-throughput screening and
               funding of postdoctoral positions in ORD to develop research on thyroid hormone
               assay battery and cross species extrapolation. I also coordinated activities on
               children’s health-related issues and provided advice to the OCSPP Assistant
               Administrator and the USEPA Administrator. A key area of emphasis was the
               transparency of science on emerging scientific and technical issues for all of
               Office of Chemical Safety and Pollution Prevention (OCSPP). I coordinated
               quality assurance, science integrity, and peer review programs for OCSPP to
               assure that sound scientific decisions were made regarding safe pesticides,
               chemical management, complex pollution prevention and chemical safety
               approaches. As the Deputy Ethics Official for OCSPP he conducted peer review
               coordination and leadership of the FIFRA Scientific Advisory Panel (SAP). I
               established the Science Advisory Committee on Chemicals (SACC) for TSCA
               website: http://www.epa.gov/scipolicy/sap/. I coordinated and provided leadership
               on emerging topics such as endocrine disruptors: Endocrine Disruptor Screening
               Program (EDSP) (http://www.epa.gov/scipoly/oscpendo/).

               I developed FACA committees and procedures for FIFRA and TSCA programs
               with new charters and a new TSCA standing committee of over 100 ad hoc
               special government employees. This included building coalition and partnering
               with the EPA SAB to address staffing shortfalls and common science policy
               issues needing review. I developed methods and procedures for new framework
               for EDSP screening using high through put techniques for steroid and thyroid
               pathways through multidisciplinary collaborations. I served as US government
               representative on OECD Endocrine Committee- OECD EDTA, OECD VMG NA
               and VMG ECO.

November 2013 to May 2016: Deputy Director, Risk Assessment Division, (GS-401-15)
     Supervisor Biologist, Office of Pollution Prevention & Toxics (OPPT), Office of
     Chemical Safety and Pollution Prevention, USEPA, Washington, DC.
     I oversaw a reorganization of the risk assessment division affecting both new and existing
             chemical risk assessment activities, coordinated peer review for OPPT, led
             development of work plan risk assessments, managed budget and all
             administrative and human resource functions of the division.

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              I developed peer review program for TSCA products. I developed a project
              management tool to track level of effort for risk evaluations, skills assessment,
              and resource assessment in Salesforce. I developed alternatives analysis
              approaches to inform risk management decisions in rule making. I developed
              existing chemical exposure limits (ECELs) approach to support risk-based
              occupational exposure limits for risk management options.

May 2012 to February 2014: Chief, Science Support Branch, Risk Assessment Division, (GS-
      401-15) Supervisor Biologist, Office of Pollution Prevention & Toxics (OPPT), Office of
      Chemical Safety and Pollution Prevention, USEPA, Washington, DC.
      I oversaw new and existing chemical risk assessment activities and served as OCSPP
              peer review coordinator, developed OPPT workplan risk assessments. Identified
              critical gaps and structure of organization and skills the organization lacked in
              effectively meeting its mission. These critical needs were incorporated into
              reorganization plan for OPPT in 2013. Key accomplishments included
              development an Organo-Halogen Flame-Retardant Assessment Strategy based on
              structurally related use clusters. I managed and led the acute exposure guideline
              (AEGL) development program providing nearly 60 new chemical AEGL for use
              in emergency response to chemicals releases and accidents.

December 2007 - to May 2012: Acting National Program Director for Human Health Risk
     Assessment (HHRA), (GS-401-15) Supervisor Biologist, National Center for
     Environmental Assessment (NCEA), Office of Research and Development (ORD),
     USEPA, Washington, DC. I led the development of Human Health Risk Assessment
     (HHRA) research action plan. I provide leadership for cross program budget planning
     and accountability for budget execution. I also providing leadership for all of the program
     translation and communication of assessment products across five divisions of NCEA.
     Key accomplishment included completion of backlogged IRIS assessments (e.g., TCE,
     Perchloroethylene) for the Agency and timely completion of integrated science
     assessments for OAR and PPRTVs for OLEM.

January 2006 to December 2007: Acting Assistant Center Director, Human Health Risk
      Assessment, GS15 Supervisor Biologist 401, National Center for Environmental
      Assessment (NCEA), Washington, DC, Office of Research and Development (ORD),
      USEPA. Revision of HHRA multi-year plan, Preparation for HHRA Board of Scientific
      Counselors (BOSC) review of HHRA MYP, responsible for managing PART
      Implementation on HHRA.

2004- March- to January 2006: GS14 Research Biologist, Effects Identification and
      Characterization Group (EICG) of National Center for Environmental Assessment
      (NCEA)-Washington, DC, Office of Research and Development (ORD) USEPA-
      Neurotoxicology risk assessment and use of mode of action data in harmonized
      approaches human health risk assessment.


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2004- February: GS14 Research Biologist in Cellular and Molecular Toxicology Branch
      (CMTB), Neurotoxicology Division (NTD), National Health and Environmental Effects
      Research laboratory (NHEERL), ORD, USEPA, Research Triangle Park (RTP), NC-
      Development of mechanistically-based markers of developmental neurotoxicity to be
      used in vitro and in vivo test systems.

2000-: GS14 Supervisory Research Biologist, Acting Branch Chief, CMTB, NTD, NHEERL,
       ORD, USEPA. Six month detail

1997- 2003: GS13 Research Biologist, CMTB, NTD, NHEERL, ORD, USEPA - Development
       of mechanistically-based markers of developmental neurotoxicity to be used with in vitro
       and in vivo test systems.

1995- 1997:     GS12 Research Biologist, CMTB, NTD, NHEERL, ORD, USEPA –
      Characterizing alterations in neurotrophic factor interactions and related signal
      transduction proteins as indices of developmental neurotoxicology.

1994-1995: Research Scientist, ManTech Environmental a contractor for USEPA.

1992-1994: Project Scientist at ManTech Environmental a contractor for USEPA

1990-1992: Senior Scientist at ManTech Environmental a contractor for USEPA

1985-1990: Ph.D. candidate working under the supervision of H.A. Tilson, Ph.D. National
      Institute of Environmental Health Science (NIEHS) and J.F. McGinty, Ph.D. (ECU).
      Dissertation project: The effects of exogenous NGF and transplantation of fetal
      hippocampal cells after intradentate administration of colchicine.

1982-1985: Graduate student (Masters Degree) under the supervision of T.M. Louis Ph.D. and E.
      Simpson Ph.D. Thesis Title: Effects of vasectomy and exercise on testosterone levels of
      mice.

                                SOCIETIES MEMBERSHIPS:
Society for Neuroscience.                                        1986-1995
American Association for the Advancement of Science.             1986-present
NC Society for Neuroscience.                                     1986-2000
International Society for Developmental Neuroscience.            1990-1997
Society of Toxicology (SOT).                                     1994-present
International Brain Research Organization.                       1986-present
NC Society for Toxicology.                                       1996- life-time member
Teratology Society                                               2002-2004
Neurobehavioral Teratology Society (NBTS)                        1997- present
International Neurotoxicology Association.                       1995- present
Society for Risk Analysis (SRA)                                  2004- present
National Capital Area Society of Toxicology                      2005- present

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AWARDS AND HONORS (listed by hierarchy and chronology newest to oldest)

SEMI-FINALIST FOR SAMUEL J. HEYMEN SERVICE TO AMERICA AWARD
     (SAMMIES). Award nomination for leadership and contribution to health and safety for
     US citizens with the development of risk assessments and approach that address chemical
     safety (2020).

GOLD MEDAL FOR EXCEPTIONAL SERVICE
    Trichloroethylene and Tetrachloroethylene Health Assessment Team
    For the extraordinary scientific skill and dedication of the trichloroethylene and
    tetrachloroethylene technical teams in overcoming multiple challenges to complete state-
    of-the-art, scientifically rigorous IRIS assessments (2011)

MANAGER OF THE YEAR AWARD IN OPPT/OCSPP
    Stanley Barone Jr., for leadership and exemplary performance in managing and leading
    both scientific and administrative functions in the Risk Assessment Division. (2015)

Bronze Medals for Asbestos (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: Asbestos Team.

Bronze Medals for 1-Bromopropane (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: 1-Bromopropane Team.

Bronze Medals for 1, 4- Dioxane (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: 1, 4- Dioxane Team.

Bronze Medals for Carbon Tetrachloride (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: Carbon Tetrachloride Team.

Bronze Medals for Cyclic Aliphatic Bromide Cluster (HBCD) (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: Cyclic Aliphatic Bromide Cluster (HBCD) Team.

Bronze Medals for Methylene Chloride (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: Methylene Chloride Team.

Bronze Medals for n-Methyl-Pyrrolidone (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: n-Methyl-Pyrrolidone Team.

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Bronze Medals for Perchloroethylene (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: Perchloroethylene Team.

Bronze Medals for Pigment Violet 29 (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: Pigment Violet 29 Team.

Bronze Medals for Trichloroethylene (2020)
      Stanley Barone Jr., for leadership and development of one of the first ten scope and risk
      evaluations mandated by TSCA: Trichloroethylene Team.

Award for Science Leadership in OCSPP with the development of systematic review
     approaches employed in risk evaluation and scoping. Development of strategy and
     approaches presented to NASEM 2020.

Bronze Medal for Alternative Testing Strategy In recognition for successfully developing a
      inventory of current alternative approaches for testing and evaluation and a strategy to
      address requirements for TSCA within the statutory deadlines (2018).

Bronze Medal for DfE Alternatives Assessments: In recognition for collaborative partnerships
      on alternatives to decabromodipheyl ether, hexabromocyclododecane, bisphenol-A, and
      pentabromodiphenyl ether that gives stakeholders the environmental information needed
      for informed chemical selection decisions. (2014)

Bronze Medal for Enforcement Consent Agreement for Environmental Monitoring for
      Octamethylcyclotetrasiloxane (D4): In recognition for successfully developing,
      drafting, and negotiating an enforceable consent agreement with industry to conduct
      environmental monitoring on a siloxane (D4) widely used in consumer products (2014)

Bronze Medal for Final TSCA Work Plan Chemicals Assessments for TCE, DCM/NMP,
      ATO, and HHCB: In recognition for significant accomplishment of the TSCA work
      plan chemical assessment teams for completion and peer review of risk assessments for
      trichloroethylene (TCE), methylene chloride (DCM), n-methylpyrrolidone (NMP),
      antimony trioxide and 1,2,3,6,7,8- hexahydro-4,6,6,7,8,9-hexamethylcyclopenta-gamam-
      2-benzopyran (2014)

Bronze Medal for Forging International Partnerships for Advancing EPA’s Mission of
      Protecting Human Health and the Environment
      This diverse and dedicated team from EPA has created an outstanding process for
      international collaborations and assurance of EPA’s role as a global leader for protecting
      the environmental and human health. I served as Project officer on the on the cooperative
      agreements with World Health Organization through which this effort was forged. (2013)


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Bronze Medal for Human Health Risk Assessment Research Action Plan Team
      For intense and dedicated effort in developing and delivering EPA’s human health risk
      assessment research action plan. Principal author and leader of team. (2011)

Bronze Medal for the Budget and Program Structure Implementation Team was crucial in
      implementing the “Path Forward” by developing a new integrated program and budget
      structure for ORD (2011).

Bronze Medal for Commendable Service for development of Children’s Health Risk
      Assessment (CHRA) framework and leading workgroup 2006.

OPPT Collaboration award (2016) for recognition of outstanding achievements of the TSCA
     work plan assessment workgroup for 1-Bromopronae for innovation and cross agency
     and interagency collaboration on the 1 Bromopropane risk assessment.

OPPT Collaboration award (2016) for recognition of outstanding achievements of the
     governance team in developing and launching OPPT project management tool for risk
     assessment and risk management activities.

OPPT Mission award (2016) for recognition of outstanding achievements for completion of the
     Risk Assessment Divisions first annual Quality Assurance Audit focused on targeted
     technical and scientific contracts

OPPT Mission award (2016) for recognition of outstanding achievements for developing and
     incorporating a new and scientifically – legally defensible analytical approach and tool
     for the evaluation of regulatory options for TSCA Section 6 rules for TCE and paint
     removers.

OPPT Mission award (2016) for recognition of outstanding achievements for developing and
     incorporating a new and scientifically – defensible analytical approach for the evaluation
     of alternative products in support of TSCA Section 6 rules for TCE and paint removers.

OPPT Mission award (2015) for recognition of outstanding achievements in enhancing and
     improving the quality of work OPPT work through planning, budgeting and financial
     management
OPPT Mission award (2015) for recognition of outstanding achievements in evolving the
     approach and methods for developing TSCA Work Plans Assessments and collaborating
     across OPPT to improve the Work plan assessment process enhancing and improving the
     quality of work OPPT work through
OPPT Mission award (2015) for recognition of completion of the Approach for Estimating
     Exposures and Incremental Health Effects from Lead Due to Renovation, Repair and
     Painting Activities in Public and Commercial Buildings
Exceptional/Outstanding ORD Technical Assistance to the Regions or Program Offices
      2011: ORD Mercury Air Toxics Support Team for quick and exceptional technical

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       assistance, specifically in characterizing neurological and cardiovascular health effects of
       methylmercury, fostering an effective peer review, and describing subpopulations
       vulnerable to methylmercury exposure through fish consumption.
ORD Environmental Justice Award 2010: Environmental Justice Symposium Team for
     extraordinary achievement in creating a successful Symposium to focus efforts to
     incorporate environmental justice concerns into analytical and decision frameworks
     during environmental decision-making.

Scientific and Technical Achievement Award (STAA Honorable Mention) 2006: Mundy,
       W.R., Shafer T.J, Barone, S. Jr., Gilbert, M.E., Meacham, C.A., Freudenrich, T.M.,
       Lyons- Darden, T., Anderson, W.L., and Sui, L., Evaluation of the appropriate dose
       metric for neurotoxicants in numerous in vitro models. This effort included a series of
       peer reviewed papers.

Scientific and Technical Achievement Award (STAA Level III) 2003: Rice, D. and Barone,
       S. Jr. (2000) Critical periods of vulnerability for the developing nervous system:
       Evidence from humans and animal models. EHP suppl. on Children’s Health 108 (suppl.
       3), 511-533.

Scientific and Technical Achievement Award (STAA Level III) 2000: Barone, S. Jr.,
       Changes in neurotrophic factor expression and signaling as markers of developmental
       neurotoxicity. Developmental Brain Res. (1998) 109(1), 13-31, 109(1), 33-49 and
       Neurotoxicity Research. 1(4), 271-283.

Scientific and Technical Achievement Award (STAA Level III) 1999: Kodavanti, P.R.S.,
       Derr-Yellin, E.C., Mundy, W.R., Shafer, T.J., Herr, D.W., Barone, S. Jr., Choksi, N.Y.,
       MacPhail R.C., and Tilson, H.A. (1998) Repeated exposure of adult rats to Aroclor 1254
       causes brain region specific changes in intracellular Ca+2 buffering and protein kinase C
       activity in the absence of changes in tyrosine hydroxylase. Toxicol. Appl. Pharmacol.
       153(2): 186-198.

Scientific and Technical Achievement Award (STAA Honorable Mention) 1996: Barone, S.
       Jr., Stanton, M.E., and Mundy, W.R. (1995) Neurotoxic effects of neonatal triethyltin
       (TET) exposure are exacerbated with aging. Neurobiology of Aging 16(5), 723-735.

Featured Highlight Paper in August 2001 issue of Toxicological Sciences. Moser, V.C.,
      Barone, S. Jr., Smialowicz, R.P., Harris, M.W., Davis, B.J., Overstreet, D., Mauney, M.,
      and Chapin, R.E. The effects of perinatal tebuconazole exposure on adult neurological,
      immunological, and reproductive functions in rats. Tox. Sci. 62, 339-352.

NHEERL Award for Outstanding Leadership (2002) for developing the Agency’s response to
    the delisting petition for methanol.

NHEERL Award for Exceptional Leadership (2002) impacting NHEERL diversity efforts.

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NHEERL Award for Exceptional Leadership (2003) impacting NHEERL workforce equity
    assessment efforts.

ORD Diversity Award for Exceptional Leadership (2003) impacting ORD diversity efforts.

Scientific Achievement in Neurotoxicology (SAINT) Best paper award for 2001: Rice, D.
       and Barone, S. Jr. (2000) Critical periods of vulnerability for the developing nervous
       system: Evidence from humans and animal models. EHP suppl. on Children’s Health 108
       (suppl. 3), 511-533.

Scientific Achievement in Neurotoxicology (SAINT) Best paper award for 1999: Barone, S.
       Jr., Haykal-Coates, N., Parran D.K., & Tilson, H.A. (1998) Gestational exposure to
       methylmercury alters the developmental pattern of trk-like immunoreactivity in the rat
       brain and results in cortical dysmorphology. Developmental Brain Res. 109(1), 13-31.

       CERTIFICATION AND PROFESSIONAL TRAINING (chronological order):

Team leadership training- How to lead a team (one-day course) – April 7, 1998

Training in quantitative morphometric approaches using stereological techniques (1 week
       course) New Orleans, LA, 2000.

Training in PBPK modeling and risk assessment methods (2 week course) Colorado State
       University, 2002.

Self-Expression and Leadership Program takes place through dialogue and exercises during a
       four-month period. Participants meet monthly on a Saturday or Sunday from 10:00 a.m.
       until 10:00 p.m.; during each week on weeknights, a 2½ -hour evening session is required
       to go over exercises to improve leadership skills and provide coaching on community
       project. Completed Corse Project, Landmark Education, Washington, DC September
       2006.

Communication Access Power: Gain access to a new world of communication where listening
     and speaking—actions that we typically think of as ordinary and commonplace—take on
     new dimensions and provide unexpected power (3-day course); Landmark Education,
     Washington, DC, February, 2006.

Advanced Communication Course: The Power to Create: Make communication vivid and real,
      with structures and tools that leave you with powerful new ways of generating
      possibilities, designing opportunities, and moving your commitments to fulfillment. (3-
      day course); Landmark Education, Washington, DC, April, 2006.

Leadership in Communications: Interpersonal Communications- Communication training for
       scientists and engineers making the transition to management positions, OPM (4-day
       course) Aurora, CO, June 11-15, 2007.

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Written communication training for managers /leaders who need to brief and communicate with
       OMB, GAO and Congressional staff (1 week), Shepherdstown, WV, 2010

Federal Executive Service Training (FEI)– Leadership in a Democratic Society, Class 373
       (month long course) Charlottesville, VA. October –November 2011.

Office of Civil Rights Certification of Special Emphasis Program Manager training (3-day
       course), 2012

EPA training -Working Effectively with Tribal Governments online 2012/13/14

EPA training Federal Employee Antidiscrimination and Retaliation Act (No FEAR Act)
      Training- online 2012/14

EPA training - IT Security Training-online 2012/13/14

EPA management Integrity training implementing OMB circular A-123 Appendix A and training
     for EPA Management Integrity Program Managers –online June 28, 2013

EPA training - IT Security Training- online 2013/14/15

EPA training – Records Management Training- online 2013

EPA Rule Effectiveness for Managers: How to Design Regulations That Will Better Achieve
     Their Intended Benefits. (4-hour course), 2013

EPA Senior Leadership Development Program- year long developmental assignment 2013.
      Completed Module 1 Excellence in Supervision April 15-19, 2013
      Completed Module Two Class Situational Frontline Leadership - / May 14-16, 2013

EPA OPPT back to basics skill refresher for managers (40 hrs) 2013.

EPA Training Recertified for Grant's Manager (MANAGER'S ONLY) FY13
  http://intranet.epa.gov/ogd/on_line_training/main/manager_traininginfo.htm

EPA Training IA Certification/Recertification: (IAG ONLY) FY13
  http://intranet.epa.gov/ogd/on_line_training/main/traininginfoiag.htm

EPA Anti-Harassment Training for managers FY2015

EPA Training Leading at the Speed of Trust training for managers 2-day course July 2016

EPA Supervisory Training - Drug-Free Workplace Program 2-hour course December 2016


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COMMITTEES AND CONSULTANT APPOINTMENTS, PROFESSIONAL SOCIETY
ELECTED APPOINTMENTS, ADJUNCT FACULTY APPOINTMENTS, ADVISORY
AND EDITORIAL APPOINTMENTS. EPA ACTIVITIES (chronological order):

Team and Committee Efforts:
Principal Investigator on Award from Pesticide and Kids Request for Proposals for NHEERL
       inter-divisional funding FY 1995; Neurotrophic Mechanisms of Age-related susceptibility
       to Cholinesterase Inhibiting Pesticides.

Principal Investigator and participant in Interagency Agreement on Pesticide and Children
       Project (EPA & NTP/NIEHS 1995-2002).

NHEERL Career Development Team – I served as team leader and reporter to NHEERL senior
     management on barriers in career development and recommendations (1996-1998).

Scientific Reviewer and Consultant to EPA Food Quality Protection Act 10X Task Force (1996-
        2000).

NTD Team Leader for Goal 8, Sound Science Markers, mechanisms and models of
    developmental neurotoxicity team (NTD) (1996-2001).

NTD Leader on Interagency Agreement to characterize the developmental neurotoxicity of
     mercury vapor exposure (EPA & NTP/NIEHS 1997-2002).

Scientific Consultant on OECD harmonization of developmental neurotoxicity testing guidelines
        coordinated NTD response on draft guidelines (1997-2001).

Member of the ORD Mercury Research Strategy Team (health effects section 1998-2000)

Scientific Reviewer for OPP Developmental Neurotoxicity Retrospective Study (1999) and ORD
        participant in OPP Scientific Advisory Panel presentation.

Invited Scientific Consultant in EPA sponsored, Critical Windows of Exposure for Children’s
       Health Workshop (coauthor and presenter of background paper on developmental
       neurotoxicology, Richmond, VA, 1999).

Scientific Consultant to OPP on Chlorpyrifos FQPA 10X safety factor document (2000)
        http://www.epa.gov/oppsrrd1/op/chlorpyrifos/reevaluation.pdf.

Scientific Consultant to OPP on testing protocol requirements for data call in (DCI) for
        organophosphate pesticides (2000).

Meeting Reporter and author of case studies for NHEERL Goal 8.2 Human Health Research
      (HHR) Strategy (2000)


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NHEERL participant in ORD Goal 8.2 Human Health Research Multi-Year Research Planning
     (2001-2004).

Principal Investigator and participant in Interagency Agreement to characterize the
       developmental neurotoxicity of organotin mixtures in drinking water (EPA &
       NTP/NIEHS 2001).

NTD representative to NHEERL HHR implementation team (2001-2004).
         o Principal CoAuthor of NHEERL white papers on Harmonization and Susceptible
             Populations.
         o Facilitator of NHEERL HHR Scientist to Scientist meeting on Harmonization.

CoChair recruitment subcommittee of NHEERL Diversity Steering Group (1999-2004).
          o Program director of NHEERL 2000-2002 Holiday Diversity Celebration.
          o Program director of Gay Lesbian Bisexual Trasgendered (GLBT) Pride
              Celebration (June 2001 and June 2002).

Research Triangle Park (RTP) representative to GLOBE, the gay, lesbian, bisexual,
       transgendered (GLBT) employee group of federal employees at EPA (1999-2004).
           o Principal Author of Agency white paper on Business Case for Special Emphasis
              Program Managers for GLBT Employees at the USEPA submitted to EPA
              Administrator and Senior management.
           o Presenter at Federal GLOBE meeting Business Plan for Growing GLBT
              organization for Employees at the USEPA (November, 2002).
           o Presenter at USDA diversity Council meeting on Business Case for Special
              Emphasis Program Managers for GLBT Employees at the USEPA (January
              2003).
   • Treasurer for Equality EPA (formerly GLOBE) 2010-2111.
   • President of Equality EPA (formerly GLOBE) 2011-2016.

Liaison and Leader of ad hoc ORD team reviewing technical information on petition to delist
       methanol as a hazardous air pollutant (1999-2002) to OAQPS/OAR.
          • Author of memo characterizing human health hazard to methanol following
              developmental exposures. This memo was used in the decision analysis for the
              denial of delisting request and a significant part of the federal register notice for
              the published denial of the petition.

CoChair of NHEERL National Children’s Study Research Program, Project on Biomarkers for
      Goal 8.2 Susceptible Populations, (2002-2004).

GLBT Diversity Program Manager for USEPA Research Triangle Park, March 1, 2003- January
     30, 2004 (20 percent time collateral duty). Reported to Mary Day, Director of Human
     Resources (HR) in RTP. Responsibilities included development of education and
     awareness programs for staff and management and serving as a liaison between
     employees, the Union local/AFGE, Office of Civil Rights and HR office.

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Executive liaison to EPA LGBT special emphasis program mangers whose mission is to ensure
       an inclusive and welcoming workplace for all

Consultant to OPPT/OAR/ATSDR on Toxic Substance Control Act (TSCA) section 4 Proposed
       Test Rule for Testing Neurotoxicity of Selected Solvents (2004-05). Responsibility
       included review and revision of findings document, identification of additional testing
       requirements and suitable guidelines to address testing needs. Additional responsibilities
       included assistance of OPPT in responding to Office of Management and Budget and
       industry group comments.

Team leader of effort to develop A Framework for Assessing Health Risks of Environmental
      Exposure to Children (2005-2012). Principal author and editor of this document and
      leader of the interdisciplinary effort to develop this document.

Team member of effort to develop IRIS documentation for Tetrachloroethylene (PERC) (2004-
      2012).

Team member of effort to develop IRIS documentation for Ethylene dichloride (EDC; also
     known as 1, 2 dichloroethylene) (2004-2012).

Team member of effort to develop IRIS assessment for methanol (2004-2013).

Team member of effort to develop IRIS documentation for Trichloroethylene (TCE) (2006-
     2011).

Team member of effort to develop IRIS documentation for formaldehyde (2008-2011).

ORD Reviewer and coauthor of revised EPA Developmental Neurotoxicity Testing guidelines in
     response to EPA SAB/SAP comments (2005-2006).

ORD Reviewer and coauthor of revised OECD Developmental Neurotoxicity Testing guidelines.
     Draft 3 and 4 (2005-2006).

ORD coauthor of National Center for Environmental Research (NCER)- PBPK request for
     proposals 2006.

Member of NCEA mode of action (MOA) framework (2006-2012)- team to develop approaches
     document for application of MOA information risk assessment.

Member of ORD MOA workgroup (2006-2012) - broad based membership across EPA to
     discuss research on MOA and research needs for risk assessment and discusses
     implementation of MOA information risk assessment.



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Member of Risk Assessment Forum technical panel on MOA framework employing human
     relevance analysis (2006-2012) - Agency expert on application of life stage approach for
     evaluation of risk using MOA information. This technical panel intends to develop a
     MOA framework for harmonized use in both cancer and noncancer evaluations.

Member of Risk Assessment Forum Human Health oversight panel (2006-2012)

Member of NHEERL/ORD Title 42 selection panel for division directors for NHEERL/ORD
     (2009)

ORD/NCEA liaison with GAO on IRIS study Job Code 361203 (2009-2012).
     Agency point of contact on High Risk report as it relates to IRIS program

Agency Liaison to National Academy of Science (NAS) Committee on Emerging Science for
      Environmental Health Decisions, responsible for planning and determining relevance of
      workshops and symposium. Sponsored by NIEHS 20011-present.

Member of ILSI/HESI Risk 21 steering group on Integrated Evaluation and Tier Testing (2010-
     2012).

Member of cross agency workgroup mercury air toxics rule – provided technical support to
     appropriate and necessary analysis and regulatory impact assessment (chapter 4) 2011-
     12.     (http://www.epa.gov/ttn/atw/utility/mats_final_ria_v2.pdf)

Member of Interagency Chemical Toxicity Assessment workgroup under White House Office
     Science and Technology Policy Office and the Committee of Environment and Natural
     Resources (OSTP/CENR) (2016-2019).

Science and Technology Policy Council Science manager representative for OCSPP (2016-
       2019).

National Toxicology Program Interagency Executive council representative for OCSPP (2016-
       2019).

Deputy Ethics Official and Peer Review Coordinator for OCSPP FACA committees (2016-
      2019).

Senior Science Integrity Official for OCSPP (2016-2019).

Senior Quality Assurance official for OCSPP (2016-2019).

Senior Science Integrity Official for OCSPP (2022-present).

Expert witness in fluoride litigation Food and Water Watch vs EPA 2023 March to present.


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                OUTSIDE ACTIVITIES (chronological order by category):

Adjunct and Board Appointments to Five Academic and Not for Profit Organizations

Adjunct appointment to the Anatomy and Cell Biology Department at East Carolina University
      School of Medicine (1993-2004).

Adjunct appointment to the Toxicology Curriculum, University of North Carolina at Chapel Hill.
      (2002-2004).

Board of Trustees Crispus Attucks Park- Community Park in Washington, DC (2005-06).
      Responsible for grantsmanship and public outreach

Chair of Board of Trustees Metropolitan Community Church, Washington, DC (2011-2013).

Vice Moderator of Board of Trustees for Holy Redeemer Metropolitan Community Church,
      College Park, MD (2014-present).

Mentorship of Fifteen Women and Minority Graduate Students and Post Docsin
      Environmental Science

Mentor to Doctoral Student in Neurobiology Curriculum (UNC-CH) Laura W. Shaughnessy,
      Ph.D. (1992-1997). Title: The role of NGF in lesion-induced compensation following
      colchicine infusion into the rat nucleus basalis.

CoMentor to Doctoral Student in Experimental Psychology (UNC-CH) John H. Freeman Jr.,
     Ph.D. (1993-1994). Title: Role of cerebellar maturation in the ontogeny of eye blink
     conditioning in rats.

CoMentor to UNC-CH Toxicology Curriculum graduate student, Mr. T. Leon Lassiter (1995-
     2002). Title: The role of cholinesterases during development: Toxicological
     considerations.

CoMentor to UNC-CH Toxicology Curriculum graduate student, Mr. Damani Parran (1996-
     2002). Title: Disruption of the neurotrophin signal transduction cascade leads to altered
     differentiation?

Mentor to NRC Postdoctoral Research Fellow, Kaberi Das, Ph.D. (1996-1999). Title of Project:
      Qualitative effects of developmental exposures to cholinesterase inhibitors: Involvement
      of trophic mechanisms.

CoMentor to UNC-CH Postdoctoral Research Fellow, Sushmita Chanda, Ph.D. (1997). Title of
     Project: Characterization of the developmental neurotoxicity of gestational mercury
     vapor exposure.


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CoMentor for graduate student internship to Tiffany L. Crumpton, Ph.D. (1997) from Meharry
     Medical College, Department of Pharmacology. Examination of molecular mechanisms
     of lead-induced alteration in differentiation.

CoMentor to UNC-CH Toxicology Curriculum graduate student, Ms. Amy Driver, Masters
     thesis (1998-1999). Title: Reactive oxygen species susceptibility in Long-Evans rats due
     to age and treatment with ferrous iron, methylmercury, and trimethyltin.

Mentor to EPA Postdoctoral Research Fellow, David Mason, Ph.D. (1999-2001). Title of
      Project: Convergence of the effects of methylmercury and polychlorinated biphenyls on
      developmental processes: A study of the developmental neurotoxicity of mixtures of
      persistent bioaccummulated toxicant (PCB's and CH3Hg).

CoMentor to Visiting Scientist, Estefânia Gastaldello Moreira, PhD. (2000-2002), from the
     Center for Toxicological Assistance, San Paulo State University, Brazil. Title of Project:
     Behavioral, biochemical and neuroanatomical evaluation of weaned and adult rats
     exposed to lead during pregnancy and lactation.

Mentor to UNC-CH Postdoctoral Research Fellow, Scott Jenkins, Ph.D. (2001-2004). Title of
      Project: Evaluation of the in vitro and in vivo developmental neurotoxicity of organotin
      mixtures found in PVC leachates.

CoMentor to Visiting Scientist/Predoctoral Research Fellow, Julia M. Gohlke (2001-2004) Univ
     Washington, Department of. Environmental Health Title of Project: Pharmacodynamic
     modeling of altered proliferation and apoptosis following developmental neurotoxicity in
     the neocortex.

Mentor to EPA Postdoctoral Research Fellow, Tara Lyons-Darden, Ph.D. (2002-2005). Title of
      Project: Evaluation of surrogate biomarkers of developmental neurotoxicity in animal
      and humans.

Mentor to Margaret Adgent, MPH fellow, (2004-2005) Association of School of Public Health.
      Project: Investigation of effects perinatal environmental tobacco smoke on neurological
      outcomes.

Mentor to Christine Robles, MPH fellow, (2005- 2006) Association of School of Public Health.
      Project: Investigating biomarkers of effect for children’s health risk assessment for
      adverse neurodevelopmental health outcomes.

Organizer of Over Twenty-Six External Symposia and Workshops (1994- Present)

1. Organizer and participant in Workshop on Mechanisms of Developmental Neurotoxicity (EPA
       & NIEHS, 1994).



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2. Organizer and participant in Panel Discussion on Relevance of Neurotrophic Factors to
      Neurotoxicology. Fifth International Neurotoxicology Association (1995).

3. CoOrganizer, participant and Chair of Society of Toxicology 1998 Symposium; Unique Roles
      of Cholinesterases and Acetylcholine in the Developing Nervous System.

4. Organizer for 5th NHEERL symposium on Use of Indicators of Health and Ecology in Risk
       Assessment and Cochaired session on Indicators for Persistent Bioaccumulating
       Toxicants (1999-2000).

5. Invited Chair of symposium on Children’s Health and the Environment: Mechanisms and
        Consequences of Developmental Neurotoxicity (Little Rock, AK, 1999).

6. Invited Chair of Poster Discussion on Apoptosis for Society of Toxicology Annual meeting
        (2000).

7. Invited Chair of Poster Discussion on Children’s Health and the Environment: Mechanisms
        and Consequences of Developmental Neurotoxicity (Colorado Springs, CO, 2000), Use
        of in vitro simulations for in vivo developmental neurotoxicity.

8. Organizer, chair and participant in Symposium for Society of Toxicology 2001 meeting; The
       role of apoptosis in developmental neurotoxicity and neurodegeneration in adults.

9. Invited Chair of Session 5: “Environmental Influences as Etiologic Factors in Autism” in
        Symposium on, Potential Cellular and Molecular Mechanisms in Autism and Related
        Disorders, sponsored by NICHD and NIEHS, Co-sponsored by NIMH, NINDS, and
        NIDCD, Bethesda, MD, September 6-8, 2001.

10. Organizer and participant in Workshop on Harmonization of Risk Assessment Approaches
       (sponsored by EPA- NCEA and NHEERL, 2003).

11. CoOrganizer of National Children’s Study Workshop on Neurobehavioral Development and
      Environmental Exposures: Measures for the National Children’s Study, September 27–
      28, 2004.

12. CoOrganizer of Symposium: Updated Approaches to Assessing Risk in IRIS: Issues from
      Recent Chemical Risk Assessments of Ethylene Oxide, Perchloroethylene and
      Tricholoroethylene, Society for Risk Analysis Meeting, December 4-7, 2005, Orlando,
      FL

13. CoOrganizer of WHO-IPCS workshop on Biomarkers for Assessing Risk to Children
      Following Environmental Exposures. Buenos Aires, Argentina. November 14-16, 2005

14. CoOrganizer of OCHP/NCEA State Risk Assessors Workshop on Children’s Health Risk
      Assessment. June 7-9 2006

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15. CoOrganizer of Symposium Contemporary Issues in Children’s Health Risk Assessment.
      Toxicology and Risk Assessment Conference. The conference will be held in April 23-
      26, 2007 Cincinnati, OH.

16. Organizer and participant in Workshop on Challenges and opportunities in incorporating
       mode of action (MOA) information into Risk Assessment Approaches (sponsored by EPA-
       NCEA and ACC 2008). 34th Annual Summer Toxicology Forum. Aspen, CO, July 7-10,
       2008.

17. CoOrganizer of TestSmart meeting II; Alternative neurotoxicity testing meeting, November
      14-16, 2008, Reston, VA.

18. CoOrganizer of Symposium: Developmental Vulnerability to Environmental Chemical
      Exposures: Evidence from Analysis of Behavior to Genes. 49th Annual Meeting of
      Teratology and Neurobehavioral Teratology Meeting, Puerto Rico, June 27- July 1, 2009.

19.Organizer    of     Symposium:    Incorporating  and     Addressing   Environmental
    Justice/Disproportionate Impacts in EPA’s Decision-Making Process using a Risk
    Assessment Framework, Strengthening Environmental Decision making: A symposium on
    Science of Disproportionate Environmental Health Impacts. (Sponsored by EPA)
    Washington, DC, March 17-19, 2010.

20. CoOrganizer of EPA workshop: Advancing the Next Generation (NexGen) of Risk
      Assessment: Approaches for Chemicals with Less Data. Research Triangle Park, NC,
      November 1-3, 2010

21. CoOrganizer of SOT Round Table: Reforming the Toxic Substances Control Act (TSCA):
      Challenges, Opportunities, and Timing. Society of Toxicology 2011 meeting, March 7,
      2011 Washington, DC.

22. Organizer of Agency workshop on flame-retardant research and alternative and risk
      assessment for EPA. Washington, DC April 1-2, 2014.

23. Organizer of Interagency workshop on flame-retardant research and assessment and policy
       oversight for federal government. Research Triangle Park, NC May 8-9, 2014.

24. CoOrganizer of International Workshop. Accelerating the Pace of Chemical Risk Assessment
      Workshop, Washington, DC. September 14-15, 2016

25. Invited chair- for how can knowledge from new in vitro DNT tests contribute to
        epidemiology and vice versa? OECD/EFSA Workshop on Developmental Neurotoxicity
        (DNT): The Use of Non-Animal Test Methods for Regulatory Purposes. Brussels,
        Belgium. October 16-20, 2016


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26. Appointment to Organizing Committee on Understanding the Paradigm Change at the
      Interface of Emerging Sources of Environmental Health Data and Decision Making. For
      NAS Emerging Science Committee of Board of Life Science. November 22-23, 2017.

Ad Hoc Reviewer for over Twenty Peer Reviewed Journals

Hippocampus .                          Toxicology & Applied Pharmacology.
Toxicological Sciences.                Neurotoxicology and Teratology.
NeuroToxicology.                       Environmental Health Perspectives.
Experimental Neurology.                Neurochemical Research.
Pharmacology & Toxicology.             Mental Retardation and Research Reviews.
European Journal of Neuroscience.      Journal of Toxicology & Environmental Health.
Neuroscience Letters .                 Reproductive Toxicology.
Critical Reviews in Toxicology.        Neuropharmacology.
Journal of Neurochemistry.             Neuroscience Research.
European Journal of Neuropsychopharmacology.
Human and Ecological Risk Assessment.
        (Guest Handling Editor for NHEERL symposium supplement).

Ad Hoc Advisory Role and Member of Twenty-Five Peer Review Boards

Ad hoc reviewer for EPA experimental myopia proposals (1996).

Ad hoc reviewer of Post Doc Proposal for UNC-Chapel Hill Toxicology Curriculum Proposals
      (1996).

Ad hoc reviewer for proposals to Center for Alternatives to Animal Testing, John Hopkins
      University, Baltimore, MD (1996-1997).

Ad hoc member of NIH specialty section (ALTX4) on Neurotoxicology & Alcohol, (April 1997).

Reviewer for Investigator Initiated Research proposal for Jeffress Research Grant from the
      Jeffress Memorial Trust (1999).

Reviewer for US Army specialty section on Neurotoxicology Investigator Initiated Research
      proposals (November 2000).

Reviewer for USEPA Office of Children’s Health Protection request for proposal on
      developmental neurotoxicology (February 2001).

Reviewer and Scientific Advisory Board Member for Cure Autism Now (CAN) Investigator
      Initiated Research proposal on developmental neurotoxicology (2001).

Reviewer for Center for Environmental and Rural Health (CERH) at Texas A&M University
      pilot grants program (May 2001).

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Reviewer for National Toxicology Program Center for the Evaluation of Risks to Human
      Reproduction (CERHR) review of developmental and reproductive toxicity data for
      methanol (February-October, 2001).

Reviewer for NCER-EPA/NIEHS proposals for Centers for Environmental Excellence on
      Children’s Health (June, 2001)

Ad hoc reviewer for Food & Drug Administration (FDA) National Center for Toxicological
      Research (NCTR)- Intramural research proposals (July 2002).

Member of Interagency Workgroup on Development and Behavior to National Children’s Study
     (NCS), (2002-2005).
     ● Facilitator of Interagency Workgroup meeting in April, July, and December 2002.
     ● Principal CoAuthor of Core Hypothesis on Gene and Environmental Interactions for
             Neurodevelopment & Behavior Workgroup of National Children Study.
     ● Developed expert peer panel workshop to provide recommendations for early
     neurological testing to be employed in (NCS).

Reviewer for Center for Environmental and Rural Health (CERH) at Texas A&M University
      pilot grants program (May 2003).

Reviewer for NCER-EPA/NIEHS proposals for Centers for Environmental Excellence on
      Children’s Health (August, 2003)

Reviewer for Veterans Administration on role of cholinesterase inhibition in Gulf War Illness
      (September, 2004)

Invited Expert Panel member of Hershey Medical Center Technical Workshop: Optimizing the
        Design and Interpretation of Epidemiologic Studies for Assessing Neurodevelopmental
        Effects from in Utero Chemical Exposure, Research Triangle Park, NC September 14,
        2005

Reviewer Department of Veterans Affairs' Environmental Hazards Research Centers Proposals
      (June, 2006).

Reviewer for NCER-EPA/NIEHS proposals for Centers for Environmental Excellence on
      Children’s Health (August, 2006, July 2010, June 2015)

Reviewer for US Army specialty section on Neurotoxin Exposure Treatment Research Program
      (December 2006).

Member of NBTS Constitution and Bylaws Committee (2009-2011)

Appointment to organizing committee as agency representative to NAS Emerging Science

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       Committee of Board of Life Science. November 2016- present

      LEADERSHIP WITH INTERNATIONAL ORGANIZATIONS with MAJOR
                     EXTRAMURAL EXPERIENCE

Project Officer on World Health Organization cooperative agreements for the Agency.
        Conduct External Peer review of International Programme on Chemical Safety (IPCS)
        (value-11.2 million) and Public Health and the Environment (PHE) proposals (value- 8.2
        million) 2006-to 2012.

Project Officer and technical liaison on National Academy of Science (NAS) risk assessment
       issues contract. Organized 6 workshops and two symposia for ORD/EPA for NAS risk
       assessment issues contract (value- 5 million) 2006-2010.
       1) Dose-response for receptor-mediated toxic events and low dose population cancer risk
               assessment,
       2) Quantitative approaches to characterizing uncertainty in human cancer risk assessment
               based on bioassay results,
       3) Relevancy of mouse liver tumors: benefits and constraints on use in human health risk
               assessment, qualitative and quantitative aspects,
       4) Quantitative approaches to characterizing uncertainty in human risk assessment based
               on epidemiological results,
       5) Risk Assessment Considerations for Interpretation of Data from Bioassays for Thyroid
               Activity and from Human Biomonitoring Data: Issues of Variability, Critical
               Reproductive-Developmental Periods, and Cross-Species Comparisons, Toxicity,
       6) Approaches to Screening for Risk from Pharmaceuticals In Drinking Water and
               Prioritization for Further Evaluation,
       7) Symposium-Pathway-Based Risk Assessment: Preparing for Paradigm Change, and
       8) Symposium-Exposure Science in the 21st Century.

INVITED SEMINARS: Invited to give Sixty National Level Seminars from 1995-Present

1. Barone, S. Jr. TMT-induced increases in GFAP immunoreactivity in the developing rat brain.
       Sigma Xi, FDA Chapter. NIH Bethesda, MD, April 21-24, 1992.

2. Barone, S. Jr. Trophic factors as indicators of developmental neurotoxicity. Neurotoxicology
       Panel Discussion: Neural markers of injury-pros and cons. Society for Neuroscience,
       Anaheim, CA. October 28, 1992.

3. Barone, S. Jr. Developmental differences in neural damage following trimethyl-tin as
      demonstrated with GFAP immunohistochemistry. Association of the Learning Disabled.
      San Francisco, CA, February 26, 1993.

4. Fierke, L., & Barone, S. Jr. Developmental effects of methylmercury on a nerve growth
       factor's second messenger cascade. Third Annual North Carolina State University
       Undergraduate Research Symposium. April 7, 1994.

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5. Barone, S. Jr., Freeman J. H. Jr., Mundy, W.R., & Stanton, M. E. Age-related sensitivity and
       latent effects of developmental CNS damage induced by triethyltin. Eastern Carolina
       Chapter Society for Neuroscience. Greenville, NC. April 29, 1994.

6. Shaughnessy, L.W., Barone, S. Jr., Mundy, W.R., & Tilson, H.A. (1995) Neurochemical and
       behavioral recovery after colchicine lesions of the nucleus basalis magnocellularis in rats.
       Sun Coast Conference on Neurobiology of Aging, Amelia Island, Florida April 11-14,
       1995.

7. Barone, S. Jr., Mundy, W.R. and Stanton, M.E. Neurotoxic effects of neonatal triethyltin
      (TET) exposure are exacerbated with aging. Neurobehavioral Teratology Society.
      Keystone, Colorado, June 23-26, 1996

8. Barone, S. Jr., Empirical data supporting the accelerated aging hypothesis. North Carolina
       Society for Neuroscience, Neurotoxicology Round table. NIEHS, October 24, 1996

9. Barone, S. Jr., Possible effects of cholinergic tone on neurotrophic factor expression and
      neural development. Society for Toxicology Symposium; Unique Roles of Cholinesterases
      and Acetylcholine in the Developing Nervous System. Seattle, WA, March 5, 1998.

10. Barone, S. Jr., Markers of developmental neurotoxicity: The study of methylmercury a
      prototypic developmental neurotoxicant. Meharry Medical College Seminar Series,
      Nashville, TN, May 8, 1998.

11. Barone, S. Jr., Gilbert, M. E., Royland, J.E., Shafer, T., and Mundy, W.R. Mechanistic
      Determinants of Developmental Neurotoxicity. NIEHS/EPA Workshop on Application
      and Use of Biomarkers in Risk Assessment. Chapel Hill, NC, August 30-31, 1999.

12. Barone, S. Jr., Preliminary efforts to construct a Biologically-Based Dose Response Model
       for developmental effects of exposure to chlorpyrifos. Seminar Series, University of
       Washington, Seattle, WA, April 28, 2000.

13. Barone, S. Jr., Development and maturation of the nervous system: Neurobiological basis of
       vulnerability to environmental contaminants. California EPA sponsored conference,
       Children’s Environmental Health-Risk Assessment Issues and Challenges, Oakland Ca.
       May 1, 2000.

14. Barone, S. Jr., Development and maturation of the nervous system: Anatomical Evaluation
       of Developmental Neurotoxicity. Training Course for HED/OPP staff, Washington, DC.
       May 23, 2000.

15. Barone, S. Jr., Summary of past and present use of indicators in human health risk
      assessment for persistent bioaccumulated toxicants. 5th NHEERL Symposium. Research
      Triangle Park, NC, June 6-8, 2000.

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16. Barone, S. Jr., Effects of Chlorpyrifos and its metabolites on developmental processes:
      Evidence from in vitro and in vivo test systems. Symposium on: Organophosphate
      Pesticide Impacts on Neural Development: Dish to Fish to Rodents to Humans. Duke
      University. December 4, 2000.

17. Barone, S. Jr. The role of apoptosis in neurotoxicology.       Society of Toxicology, San
      Francisco, CA. March 26, 2001 symposium talk

18. Barone, S. Jr., Integration of mechanistic data into the weight evidence considerations for
       risk assessment of developmental exposure to chlorpyrifos. Children’s Environmental
       Health- Developing a Framework. California EPA, Monterey, California. April 23-24,
       2001.

19. Barone, S. Jr., Examination of the effects of chlorpyrifos on developmental processes:
      Evaluation of biochemical, morphological and behavioral indices of developmental
      neurotoxicity. Continuing Education Course on Developmental Neurotoxicology,
      Teratology Society. Scottsdale, Arizona, June 23, 2002,

20. Barone, S. Jr., Effects of Toxicants on Neural Differentiation Colloquium In Vitro
      Neurotoxicology: Tools for Cellular Neurobiology, American Society for
      Neurochemistry. West Palm Beach, FLA, June 25, 2002.

21. Barone, S. Jr., Biomarkers of exposure and biomarkers of effect for developmental
      neurotoxicology: A case study with chlorpyrifos. Region 10 Seminar Series. Seattle,
      Washington, March 17, 2003.

22. Barone, S. Jr., Update on children’ health risk assessment framework. Office of Children’s
       Health Protection Federal Advisory Committee Meeting. Washington, DC, Washington
       Hotel. February 22, 2005,

23. Barone, S. Jr., Overview of Office of Research and development children’s health research
       program. Children’s Environmental Health Network. Methodist Building. Washington,
       DC March 24, 2005.

24. Barone, S. Jr., Children’s health risk assessment framework looking toward implementation.
       Regional Risk Assessors Meeting. Kansas City, Kansas. May 1, 2005.

25. Barone, S. Jr. Overview of Neurotoxicity issues to be considered in IRIS Assessments.
      Chemical Managers Seminar Series. July 28, 2005

26. Barone, S. Jr. & Scott, C.S. Characterization of uncertainties: How do we define these
      uncertainties per application of Uncertainty Factors. Society for Risk Analysis Meeting,
      December 4-7, 2005, Orlando, FL


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       Selevan, S.G., Sonawane, B., Employing A Children’s Health Risk Assessment
       Framework Using a Life-Stage Approach. Society for Risk Analysis Meeting, December
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28. Barone, S. Jr. Overview of Neurotoxicity issues to be considered by Risk Assessors. Risk
       Assessment Teleconference for Superfund (RATS) - Regional and State Risk Assessors
       Seminar Series. January 11, 2005

29 Barone, S. Jr. Overview of Contemporary Children’s Health Risk Assessment Approaches.
      RATS- Regional and State Risk Assessors Seminar Series. November 8, 2006

30. Barone, S. Jr., Postnatal CNS Development. Continuing Education Course on Functional
       Developmental of the CNS: Positive and Negative Factors, Teratology Society.
       Monterey, CA, June 28, 2008.

31. Barone, S. Jr., Overview of environmental vulnerability to chemical exposures. Society
      Presidents Symposium -49th Annual Meeting of Teratology and Neurobehavioral
      Teratology Meeting, Puerto Rico, June 27- July 1, 2009.

32. Barone, S. Jr., How can science inform risk-based decisions and protect children's health?
       Society of Toxicology, Salt Lake City, UT, Symposium talk March 7-11, 2010.

33. Barone, S. Jr., Putting High Throughput Chemical Risk Characterization into Real-World
       Practice Symposium Faster Science for Better Decisions: Characterizing Environmental
       Contaminant Risk from High Throughput Data Society of Toxicology, Salt Lake City,
       UT, Talk March 7-11, 2010.

34. Barone, S. Jr., Next Generation Risk Assessment Overview. Regional Risk Assessors
      Training Conference. Atlanta, Ga, June 8-10, 2010

35. Barone, S. Jr., Challenges and Opportunities in Putting High-Throughput Chemical Risk
      Characterization into Real-World Practice. National Capital Area Chapter - Society of
      Toxicology. Washington, DC, April 19, 2011

36. Barone, S. Jr., Update on IRIS Cumulative Hazard Assessment for Phthalates: EPA Design
       for the Environment Program’s Phthalates Alternatives Analysis Kick-off Meeting,
       Washington, DC, August 24, 2011

37. Barone, S. Jr., TSCA Work Plan Chemical Risk Assessments: Upcoming Actions. OMNE
       meeting. Washington, DC, February 2, 2015

38. Barone, S. Jr., TSCA Work Plan for Chemical Assessment and Flame Retardants Overview
       for DTSC. Consultation with California Department of Toxic Substances Control.
       Washington, DC, March 26, 2015

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39. Barone, S. Jr., TSCA Work Plan for Chemical Assessment and Flame Retardants Overview
       Assessment Approaches. Phosphorus, Inorganic and Nitrogen Flame Retardants
       Association (PINFA) Tampa, FL, April 2, 2015

40. Barone, S. Jr., Technical overview of Flame Retardants Assessment and Approaches.
      National TSCA Tribal Council Washington, DC, September 30, 2015

41. Barone, S. Jr., Overview of Systematic Review Framework Office of Chemical Safety &
      Pollution Prevention (OCSPP). National Academies of Science (NAS) Committee on
      Low Dose NonMonotonic Dose Response. Washington, DC November 17, 2015

42. Barone, S. Jr., Current Practices in OCSPP to Estimate Human Health Risk in the Context
       of Temporal Exposures Scenarios. Temporal Exposure Issues for Environmental
       Pollutants: Health Effects and Methodologies for Estimating Risk Research Triangle
       Park, NC, January 27–29, 2016

43. Barone, S. Jr., Overview of EPA’s OPPT TSCA work plan assessment of new and existing
       chemicals. Texas AM Integrated Toxicology Program College Station, TX March 27,
       2016

44. Barone, S. Jr., Endocrine Disruptor Screening Program (EDSP) Overview. National Tribal
       Caucus Update, Washington, DC, June 9, 2016

45. Barone, S. Jr., Overview of EPA’s Pivot in the Endocrine Disruptor Screening Program
      (EDSP). NTP executive committee, HHS, Washington, DC November 10, 2016

46. Barone, S. Jr., Overview of EPA’s Endocrine Disruptor Screening Program (EDSP) with
      emphasis on path forward. Crop Life America Ecological Risk Assessment Committee.
      Washington DC, December 12, 2016

47. Barone, S. Jr., Strengthening Chemical Safety Decision Making with Information on Low
       Dose Toxicity. Toxicology Forum Washington, DC, February 6, 2017

48. Barone, S. Jr., Update on EPA’s Endocrine Disruptor Screening Program (EDSP) SOT 21st
       Century Toxicology Baltimore, MD, February 24, 2017

49. Barone, S. Jr., Overview of EPA’s Update of OPPT TSCA work plan assessment of new
       and existing chemicals. Texas AM Integrated Toxicology Program College Station, TX
       March 27, 2017

50. Barone, S. Jr., Overview of EPA’s Endocrine Disruptor Screening Program (EDSP) Pivot
       with emphasis on path forward. Texas AM Integrated Toxicology Program College
       Station, TX March 27, 2017


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51. Barone, S. Jr., Decision Making Within Endocrine Disruptor Screening Program: A
       Conversation on Replacing the Uterotrophic Assay. Understanding the Paradigm Change
       at the Interface of Emerging Sources of Environmental Health Data and Decision
       Making. For NAS Emerging Science Committee of Board of Life Science. Washington,
       DC November 22-23, 2017 YouTube Stan Barone- Replacing the Uterotrophic Assay

52. Barone, S. Jr., Overview of the Pivot in EPA’s Endocrine Disruptor Screening Program
       (EDSP) with an emphasis on high throughput and computational approaches. Toxicology
       Forum Annapolis, MD July 9-11, 2018,

53. Barone, S. Jr., TSCA Risk Evaluations: Lessons Learned from the First 10 Risk
       Evaluations.” ACC 2020 GlobalChem Webinar Series Session, March

54. Barone, S. Jr., Overview of TSCA Risk Evaluation Process. Committee To Review EPA's
       Toxic Substances Control Act (TSCA) Systematic Review Guidance Document Virtual
       Meeting 2.1. June 18, 2020

55. Barone, S. Jr., Panel Discussion- Session IV: Future Directions For Risk Assessment And
       Public Health Protection. Environmental Neuroscience: Advancing the Understanding of
       How Chemical Exposures Impact Brain Health and Disease—A Virtual Workshop June
       25, 2020

56. Barone, S. Jr., and Wong E. Evidence Integration Supporting Exposure and Hazard
       Assessments for TSCA Risk Evaluations. Committee To Review EPA's Toxic
       Substances Control Act (TSCA) Systematic Review Guidance Document Virtual
       Meeting 2.2. July 23, 2020

57. Barone, S. Jr., TSCA Section 6: Overview of Risk Evaluations and Lessons Learned.
       Children's Health Protection Advisory Committee (CHPAC) Washington, DC, July
       25, 2020

58.Barone, S. Jr., Connecting Data Evaluation & Evidence Integration Supporting Exposure and
      Hazard Assessments for TSCA Risk Evaluations Committee To Review EPA's Toxic
      Substances Control Act (TSCA) Systematic Review Guidance Document Virtual
      Meeting 2.3. August 24, 2020

59. Barone, S. Jr., TSCA Section 6: Overview of Risk Evaluations and Lessons Learned
       Children’s Health Protection Advisory Committee July 24, 2020

60. Barone, S. Jr., Organohalogen (OFR) and Other Flame Retardants – EPA Toxic Substances
       Control Act (TSCA) Review. The Scientific Challenges in Regulating Organohalogen
       Flame Retardants (OFRs) as a Class in Consumer Products” (ID 61), for the 2021 SOT
       Annual Meeting, March 14–18, 2021, in Orlando, Florida.



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   INVITED SEMINARS: Invited to give Seventeen International Seminars from 1994-
                                       Present

1. Barone, S. Jr. Regional ontogeny of PKC activity: Effects of methylmercury. 10th Biennial
       Meeting of the International Society for Developmental Neuroscience. San Diego, CA.
       August 2, 1994.

2. Barone, S. Jr. The role of neurotrophic factor receptors in methylmercury-induced
      neurotoxicity. Neurotoxicity of mercury: Indicators and effects of low-level exposure.
      Twelfth International Neurotoxicology Conference. Hot Springs, AK. October 30 to
      November 2, 1994.

3. Barone, S. Jr. Relevance of neurotrophic factors to neurotoxicology. Panel Discussion. Fifth
       International Neurotoxicology Association Port Ludlow, WA. June 25-30, 1995.

4. Barone, S. Jr., Tutorial: Vulnerable periods of nervous system development. Sixteenth
      International Neurotoxicology Conference. Pesticides and susceptible populations: who
      is at risk and when? Little Rock, AK. September 13-15, 1998.

5. Barone, S. Jr., Primer on vulnerability of nervous system development. Mechanisms of
      Developmental Neurotoxicology, Seventeenth International Neurotoxicology Conference
      Little Rock, AK. October 17, 1999.

6. Barone, S. Jr., Latent effects of developmental exposure to neurotoxicants indicate
      compensation may come at cost late in life. International Federation of Teratology
      Societies Symposium, Matsue, Japan. July 12-14, 2000.

7. Barone, S. Jr., Development and evaluation of in vitro imaging techniques used to screen
       agents that affect neuronal differentiation. Molecular Biomarkers, Transgenics, and
       Imaging: Technologies Ushering in a New Millennium of Neurotoxicology. Interagency
       Committee on Neurotoxicology, Washington, DC. Nov. 27-Dec. 1, 2000.

8. Barone, S. Jr., Effects of gestational mercury exposure on neurotrophic factor signaling and
       altered development of the nervous system. Microbiology, Immunology & Toxicology of
       Autism and Other Neurodevelopmental Disorders. Sponsored by March of Dimes, CAN,
       MIND, Banbury Center, Cold Springs Harbor, New York. February 11-14, 2001.

9. Barone, S. Jr., Developmental neurotoxicity of methanol in animals. Symposium and Panel
       discussion- Methanol- is it a developmental toxicant? 28th Annual Summer Toxicology
       Forum. Aspen, CO, July 7-12, 2002.

10. Barone, S. Jr., Overview of children’s health risk assessment. Healthy Environments,
      Healthy Children: Increasing Knowledge and Taking Action. Sponsored by WHO.
      Panamericano Crowne Plaza Hotel, Buenos Aires, Argentina, November 14-16, 2005


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11. Barone, S. Jr., Case Example for Use of High Throughput and Computational Approaches
       in Decision Making for Endocrine Disruption Potential. Accelerating Risk Assessment
       Workshop, Washington, DC. September 14-15, 2016

12. Barone, S. Jr., Overview of EPA’s Pivot in the Endocrine Disruptor Screening Program
       (EDSP). Meeting with French Ministry of Environment & French Ministry of Ecology
       Washington, DC, July 12, 2016

13. Barone, S. Jr., US Regulatory Perspective on Developmental Neurotoxicity Testing with
       Special Focus on Endocrine Disrupting and Industrial Chemicals. OECD/EFSA
       Workshop on Developmental Neurotoxicity (DNT): The Use of Non-Animal Test
       Methods for Regulatory Purposes. Brussels, Belgium. October 16-20, 2016

14. Barone, S. Jr., Overview of EPA’s Endocrine Disruptor Screening Program (EDSP) with
       emphasis on path forward. Global Chem Conference, February 24, 2017

15. Barone, S. Jr., Overview of EPA’s Endocrine Disruptor Screening Program (EDSP) Pivot
       with emphasis on path forward. OECD EDTA Paris, France Meeting May 19, 2017

16. Barone, S. Jr., US representative update on EPA’s Endocrine Disruptor Screening Program
       (EDSP) Pivot with emphasis on path forward. OECD EDTA and VMGNA Meeting
       Paris, France October 2-5, 2017

17. Barone, S. Jr., US representative update on EPA’s Endocrine Disruptor Screening Program
       (EDSP) with emphasis on thyroid hormone battery development and updates to
       ecological testing and evaluation. OECD EDTA and VMG ECO Meeting. Paris, France
       October 21-25, 2018

                           PEER REVIEWED MANUSCRIPTS:

1. Mundy, W.R., Barone, S., and Tilson, H.A. (1990) Neurotoxic lesions of the nucleus basalis
      induced by colchicine: Effects on spatial navigation in the water maze. Brain Res. 512,
      221-228.

2. Barone, S. Jr., Nanry, K.P, Mundy, W.R. and Tilson, H.A. (1991) Spatial learning deficits are
       not solely due to cholinergic deficits following medial septal lesions with colchicine.
       Psychobiology 19(1), 41-50.

3. Mundy, W.R., Tandon, P., Barone, S. Jr., and Tilson, H.A. (1991) Long-term changes in
      phosphoinositide hydrolysis following colchicine lesions of the nucleus basalis
      magnocellularis. Brain Res. Bulletin 26, 657-662.

4. Tandon, P., Barone, S. Jr., Drust, E.G., and Tilson, H.A. (1991) Long-term behavioral and
       neurochemical effects of intradentate administration of colchicine in rats.
       NeuroToxicology 12, 67-78.

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5. Barone, S. Jr., Tandon, P., McGinty, J.F. and Tilson, H.A. (1991) Effects of NGF and fetal
       cell transplants on spatial learning after hippocampal damage in rats. Exp. Neurol. 114, 1-
       13.

6. Barone, S. Jr., Bonner, M.J., Tandon, P., McGinty, J.F. and Tilson, H.A. (1992)
      Neurobiological effects of colchicine administration into the hippocampus: Modulation
      by NGF. Brain Res. Bulletin 28, 265-274.

7. Tandon, P., Barone, S. Jr., Bonner, M., Ali, S., and Tilson, H.A. (1993) The role of the
       septohippocampal pathway in the mediation of colchicine-induced compensatory changes
       in the rat hippocampus. NeuroToxicology 14, 41-50.

8. Freeman, J.H., Barone, S. Jr., and Stanton, M.E. (1994) Triethyltin produces neural damage
       and cognitive deficits in developing rats that depend on age of exposure. Brain Res. 634,
       85-95.

9. Tandon, P., Padilla, S., Barone, S. Jr., Pope, C.N., and Tilson, H.A. (1994) Fenthion produces
       persistent decreases in muscarinic receptor function in the adult rat retina. Tox. Appl.
       Pharm. 125, 271-280.

10. Boyes, W.K., Tandon, P., Barone, S. Jr., and Padilla, S. (1994) Effects of organophosphates
       on the visual system of rats. J. Appl. Tox. 14(2), 135-143.

11. Shaughnessy, L.W., Barone, S. Jr., Mundy, W.R., and Tilson, H.A. (1994) Comparison of
       intracranial infusions of colchicine and ibotenic acid as models of neurodegeneration in
       the basal forebrain. Brain Res. 637, 15-26.

12. Tandon, P., Barone, S. Jr., Mundy, W.R., and Tilson, H.A. (1994) Compensatory changes in
       the hippocampus following intradentate infusion of colchicine. NeuroToxicology 15(3),
       513-524.

13. Goldey, E.S., O'Callaghan, J.P., Stanton M., Barone, S. Jr., and Crofton, K.M. (1994)
      Developmental      neurotoxicity:    Evaluation  of    testing   procedures    with
      methylazoxymethanol and methyl mercury. Fund. Appl. Toxicol. 23(3), 447-464.

14. Crofton, K.M., Janssen, R., Prazma. J, Pulver, S., and Barone, S. Jr. (1994) The ototoxicity
       of 3, 3'-iminodipropionitrile: Behavioral, physiological, and morphological evidence of
       cochlear damage. Hearing Res. 81(1), 129-140.

15. Sengstock, G.J., Olanow, C.W., Dunn, A.J., Barone, S. Jr., and Arendash, G.W. (1994)
       Progressive changes in striatal dopaminergic markers, nigral volume, and rotational
       behavior following iron infusion into the rat Substantia Nigra. Exp. Neurol. 130, 82-94.




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16. Barone, S. Jr., Stanton, M.E., and Mundy, W.R. (1995) Neurotoxic effects of neonatal
      triethyltin (TET) exposure are exacerbated with aging. Neurobiol. of Aging 16(5), 723-
      735.

17. Barone, S. Jr., Herr, D.W., and Crofton, K.M. (1995) The effects of 3, 3'-iminodipropio-
      nitrile on the peripheral structures of the rat visual system. NeuroToxicology 16(3), 451-
      468.

18. Freeman, J.H., Barone, S. Jr., and Stanton, M.E. (1995) Disruption of cerebellar maturation
       by an antimitotic agent impairs the ontogeny of eye blink conditioning in rats. Neurosci.
       15(11), 7301-7314.

19. Herr, D.W., King, D., Barone, S. Jr., and Crofton, K.M. (1995) Alterations in flash evoked
       potentials (FEPs) in rats produced by 3, 3'-iminodipropionitrile (IDPN). Neurotox.
       Teratol. 17(6), 645-56.

20. Shaughnessy, L.W., Barone, S. Jr., Mundy, W.R., and Tilson, H.A. (1996) Neurochemical
       and behavioral recovery after colchicine lesions of the nucleus basalis magnocellularis in
       rats. Restor. Neurol. & Neurosci. 10, 135-46.

21. Shaughnessy, L.W. and Barone, S. Jr. (1997) Damage to the NBM leads to a sustained
       lesion-induced increase in functional NGF in the cortex. NeuroReport. 8(12), 2767-
       2774.

22. Shaughnessy, L.W., Mundy, W.R., Tilson, H.A. & Barone, S. Jr. (1998) A time-course of
       changes in cholinergic and neurotrophic-related markers following infusion of colchicine
       into the basal forebrain. Brain Res. 781(1), 67-77.

23. Lassiter, L., Barone, S. Jr., and Padilla, S. (1998) Ontogenetic Differences in the regional
       and cellular distribution of acetylcholinesterase (AChE) and butyrylcholinesterase
       (BuChE) activity in the rat brain. Dev. Brain Res. 105(1), 109-123.

24. Barone, S. Jr., Haykal-Coates, N., Parran D.K., and Tilson, H.A. (1998) Gestational
      exposure to methylmercury alters the developmental pattern of trk-like immunoreactivity
      in the rat brain and results in cortical dysmorphology. Dev. Brain Res. 109(1), 13-31.

25. Haykal-Coates, N., Shafer, T., Mundy, W.R., and Barone, S. Jr. (1998) Effects of
      gestational methylmercury exposure on immunoreactivity of specific isoforms of PKC
      and enzyme activity during postnatal development in the rat brain. Dev. Brain Res.
      109(1), 33-49.

26. Lassiter, T.L., Padilla, S., Mortensen, S., Chanda, M.S., Moser, V.C., and Barone, S. Jr.
       (1998) Gestational exposure to chlorpyrifos: Apparent protection of the fetus? Toxicol.
       Appl. Pharmacol. 152(1), 56-65.


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27. Kodavanti, P.R.S., Derr-Yellin, E.C., Mundy, W.R., Shafer, T.J., Herr, D.W., Barone, S. Jr.,
       Choksi, N.Y., MacPhail R.C., and Tilson, H.A. (1998) Repeated exposure of adult rats to
       Aroclor 1254 causes brain region specific changes in intracellular Ca+2 buffering and
       protein kinase C activity in the absence of changes in tyrosine hydroxylase. Toxicol.
       Appl. Pharmacol. 153(2), 186-198. Featured on Cover

28. Lassiter, T.L., Barone, S. Jr., Moser, V.C., and Padilla, S. (1999) Gestational exposure to
       chlorpyrifos: Dose response profiles for cholinesterase and carboxylesterase in the fetus
       and dam. Tox. Sci. 52, 92-100.

29. Das, K. P. and Barone S. Jr. (1999) Neuronal differentiation in PC12 cells is inhibited by
       chlorpyrifos and its metabolites: Is acetylcholinesterase inhibition the site of action?
       Toxicol. Appl. Pharmac. 160, 217-230. Featured on Cover

30. Barone, S. Jr., Das, K.P., Lassiter, T.L., and White, L.D. (2000) Vulnerable processes of
      nervous system development: A review of markers and methods. NeuroToxicology. 21,
      15-36.

31.   Mundy, W.R., Parran, D.K., and Barone, S. Jr. (2000) Gestational exposure to
      methylmercury alters the developmental pattern of neurotrophin- and neurotransmitter-
      induced phosphoinositide (PI) hydrolysis. Neurotox. Res. 1(4), 271-283.

32. Rice, D. and Barone, S. Jr. (2000) Critical periods of vulnerability for the developing
       nervous system: Evidence from humans and animal models. EHP Suppl. on Children’s
       Health 108 (Suppl. 3), 511-533.

33. Adams, J., Barone, S. Jr., LaMantia, A., Philen, R., Rice, D., Spear, L., Susser, E. (2000)
      Workshop summary to identify critical windows of exposure for children’s health:
      Neurobehavioral workgroup. EHP Suppl. on Children’s Health 108 (Suppl. 3), 535-544.

34. Parran, D.K., Mundy, W.R., and Barone, S. Jr. (2001) Effects of methylmercury and
       mercuric chloride on differentiation and cell viability in PC12 cells. Tox. Sci. 59, 278-
       290.

35. Das, K., Chao, S, White, L.D., Haines, W., Tilson, H.A., Harry, J., and Barone, S., Jr.
      (2001) Differential patterns of nerve growth factor, brain-derived neurotrophic factor and
      neurotrophin-3 mRNA and protein levels in developing regions of rat brain. Neurosci.
      103, 739-761.

36. White, L.D. and Barone, S., Jr. (2001) Qualitative and quantitative estimates of apoptosis
      from birth to senescence in the rat brain. Cell Death and Diff. 8(4), 345-356.

37. Crumpton, T.L., Atkins, D., Zawia, N., and Barone S. Jr., (2001) Lead exposure in
      pheochromocytoma (PC12) cells alters neural differentiation and Sp1 DNA-binding.
      NeuroToxicology. 22(1):49-62.

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38. Moser, V.C., Barone, S. Jr., Smialowicz, R.P., Harris, M.W., Davis, B.J., Overstreet, D.,
      Mauney, M., and Chapin, R.E. (2001) The effects of perinatal tebuconazole exposure on
      adult neurological, immunological, and reproductive functions in rats. Tox. Sci. 62, 339-
      352.

39. DeWoskin, R.S., Barone S. Jr., Clewell, H., and Setzer, R.W. (2001) Improving the
      development and use of biologically based dose response models (BBDR) in risk
      assessment. Human and Ecological Risk Assessment, 7(5), 1091-1120.

40. Chanda, S.M., Lassiter, T.L., Moser, V.C., Barone, S. Jr., and Padilla, S. (2002) Tissue
      carboxylesterase and chlorpyrifos toxicity in the developing rat. Human and Ecological
      Risk Assessment, 8(1), 75-90.

41. Morgan, D.L., Chanda, S.M., Price, H.C., Fernando, R., Liu, J., Brambilia, E., O'Conner,
      R.W., Beliles, R.P., and Barone, S. Jr. (2002) Disposition of Inhaled Mercury Vapor in
      Pregnant Rats: Maternal toxicity and Effects on Developmental Outcomes. Tox. Sci. 66
      (2), 261-273

42. Shafer, T.J., Meacham, C.A., and Barone, S. Jr. (2002) Effects of subacute exposure to
       nanomolar concentrations of methylmercury on voltage-gated sodium and calcium
       currents in PC12 cells. Dev. Brain Res. 136 (2), 151-164.

43. Parran, D.K., Barone, S. Jr., Mundy, W.R. (2003) Methylmercury inhibits NGF-induced
       TrkA autophosphorylation and neurite outgrowth in PC12 cells. Dev. Brain Res. 141(1-
       2):71-81.

44. Meacham, C.A., White, L.D., Barone, S. Jr. and Shafer, T.J. (2003) Ontogeny of voltage-
      sensitive calcium channel α1A and α1E subunit expression and synaptic function in rat
      central nervous system. Dev. Brain Res. 142, Issue 1: 47-65

45. Jenkins, S. M., and Barone, S. Jr., (2004) The neurotoxicant trimethyltin causes apoptosis
       via oxidative stress, caspase activation and P38 protein kinase. Toxicol. Letters 147(1):
       63-72.

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       C in Methylmercury inhibition of neurite outgrowth in PC12 cells. Dev. Brain Res.
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       Organotin Species: Dibutyltin is a Developmental Neurotoxicant In Vitro and In Vivo.
       Dev. Brain Res. 151: 1-12.




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48. Herr, D.W., Chanda, S.M., Graff, J.E., Barone, S. Jr., Beliles, R.P., and Morgan, D.L.
      (2004) Evaluation of sensory evoked potentials in Long-Evans rats gestationally exposed
      to mercury (Hg") vapor. Tox. Sci. 82: 193-206.

49. Meacham, C.A., Freudenrich, T.M., Anderson, W.L., Sui, L., Lyons- Darden, T., Barone, S.
      Jr., Gilbert, M.E., Mundy, W.R., and Shafer T.J. (2004) Accumulation of the persistent
      environmental toxicants methylmercury or polychlorinated biphenyls in in vitro models
      and relevance to in vivo levels in rat neuronal tissue. Toxicol. Appl. Pharmac. 205(2):
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       Hansen, D., Matthews, H.B., Miller, M., Nauss, K.M., Rogers, J.M., Shelby, M. (2004)
       NTP-CERHR Expert panel report on the reproductive ands developmental toxicity of
       methanol. Reproductive Toxicology 18: 303-390.
51. Barone, S. Jr., and Moser, V.C., The effects of perinatal tebuconazole exposure on adult
       neurological, immunological, and reproductive functions in rats. Letter to the Editor Tox.
       Sci. 77, 183 (2004)

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      Evaluation of developmental neurotoxicity of organotin via drinking water in rats:
      monomethyl tin. NeuroToxicology. 27(3):409-20.

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       adhesives, dry-cleaning (including spot cleaners) and degreasing operations. EPA did not
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TSCA Risk Evaluation of Carbon Tetrachloride (CASRN: 56-23-5) (2020) This final risk
     assessment finds health risks to both workers and to bystanders in workplaces where

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